Case 2:04-cV-02243-.]DB-tmp Document 35 Filed 05/13/05 Page 1 of 2 Page|D 48

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

KEVIN HAMMONS,
Plaintiff,
vs.

Case No: 04-2243-B[P

LASIK VISION INSTITUTE, LLC,
et al.,

Defendants.

~_¢`_¢~_d\_r`_r\_¢~_¢~_¢~_r~_r\_¢~_¢

 

ORDER GRANTING PLAINTIFF'S FIRST MOTION TO AMEND COMPLAINT

 

Before the Court is plaintiff’S Firet Motion to Amend
Complaint, filed April 28, 2005 (Dkt #32}. For good cause Shown,
and the defendant having no opposition thereto, plaintiff’e FirSt
Motion to Amend Complaint is hereby GRANTED.

IT IS SO ORDERED.

--_

 

,
1
l
TU M. PHAM‘

United States Magietrate Judge

S`[lB,/us’

Date

mpll&nc@

5

tmcon
nememe@donmedm%msh%m
w

Tmsdoc r79w)FHCP0n

WthmeBBandw

O

I"ISTRCT oURT WESTENR ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02243 Was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed.

 

 

Marty R. Phillips

RAINEY KIZER REVIERE & BELL
105 S. Highland Ave.

P.O. Box 1147

Jackson7 TN 38302--114

Lee J. Chase

GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Elizabeth T. Collins

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Randy Songstad

DOWDEN SONGSTAD & WORLEY
6077 Primacy Parkway

Ste. 102

1\/1emphis7 TN 38119

Honorable .1. Breen
US DISTRICT COURT

